Case 1:21-cv-OB4B&DYJLENBK ECF No. 1, PagelD.1 Filed od Th VcFOD;

' June 10, 2021 11
JS 44 (Rev. 04/21)

The JS 44 civil cover she
provided by local rules o
purpose of initiating the «
I. (a) PLAINTIFFS

Alec Sames Furman

Wane

(EXCEPT IN U.S. PLAINTIFF CASES)

(b) County of Residence of First Listed Plaintiff

705 AM
CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

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Hala Y. Jarbou, U.S. District Jud
i we ee Ray Kent, U.S. Magistrate Judge
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"PAGE OF THIS FORM)
DEFENDANTS

Tedd Anthon

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County of Residence of First Listed Defendant

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(IN U.S. PLAINTIFF CASES ONLY)

 

 

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF howe: € @)
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(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (if Known) ( 4) vel sh Bone
Il. BASIS OF JURISDICTION (Piace an “X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
JX]! U.S. Government (_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Gavernment Not a Party) Citizen of This State [21 (7 £ _tacomporated or Principal Place Oa a
of Business In This State

(12 US. Government [14 Diversity Citizen of Another State © []2 [[] 2 Incorporated and Principat Place [[]}s [5

Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a (13 (1 3 Foreign Nation Cle (Ce

Foreign Country

 

 

IV. NATURE OF SUIT (Place an "X” in One Box Onl)

 
 

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110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure 375 False Claims Act
120 Marine 310 Airplane (365 Personal Injury - of Property 21 USC 881 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_]690 Other iT 3729(a))
140 Negotiable Instrument Liability oO 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical i 410 Antitrust
& Enfo rt of Jud Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act |] 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
I 152 Recovery of Defaulted Liability Oo 368 Asbestos Personal 835 Patent- Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_] 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[1] 153 Recovery of Overpayment Liability PERSONAL PROPERTY [> 880 Defend Trade Secrets |_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle M 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders” Suits 355 Motor Vehicle 371 Truth in Lending Act |] 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Peronal | }720 Labor/Management 1 Protection Act
195 Contract Product Liability |" ] 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury [1385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
hea eee Leave Act | 864 SSID Title XVI |_| 890 Other Statutory Actions
790 Other Labor Litigation 865 RSI (405(g)) |} 891 Agricultural Acts

210 Land Condeesation ’
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440 a Tt ieee
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791 Employee Retirement
Income Security Act

   
 

 

870 Taxes (U.S. Plaintiff Act

 
   
     
 

  
 
 

240 Torts to Land 443 Housing/ or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [_] 871 IRS—Third Panty 899 Administrative Procedure
290 All Other Real Property | 445 Amer. w/Disabilities -[/ } 535 Death Penalty “4 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Neestaies Applicaton] Agency Decision
446 Amer. w/Disabilities -{_]540 Mandamus & Other 465 Other Immigration | | 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
C 448 Education |_| 555 Prison Condition

Conditions of
Confi

 

 

V. ORIGIN (Place an “xX” in One Box Only)

 

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
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Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversi
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VI. CAUSE OF ACTION

 

Brief ey

VII. REQUESTED IN

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(0 CHECK IF THIS IS A CLASS ACTION DEMAND $33miMicoH P oilayCHECK YES only if demanded in complaint: ve

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. PLUS, Re ya lites From u.S-D.JURYDEMAND: — BxlYes [No
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VII. RELATED CASE(S) leet act's Cecorded.
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IF ANY cme" upce~=—«-Fgv| “S- Beidenstine DOCKET NUMBER _UV-S.<. $490 ang 320.
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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Case 1:21-cv-00486-HYJ-RSK ECF No.1, PagelD.2 Filed 06/10/21 Page 2 of 3

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Case 1:21-cv-00486-HYJ-RSK ECF No.1, PagelD.3 Filed 06/10/21 Page 3 of3

 
